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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------X
Nayamkah Howard,                                                         Civil Case No. 22-1929

                        Plaintiff,
                                                                        COMPLAINT
        -against-
                                                                        Plaintiff Demands
                                                                        a Trial by Jury
JetBlue Airways Corporation,

                        Defendant.

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                                     PRELIMINARY STATEMENT
        Plaintiff Nayamkah Howard (“Plaintiff” or “HOWARD”) complains pursuant to Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”) as amended, 42 U.S.C.

§ 1981, New York State law, and New York City Law, and seeks damages to redress the injuries

Plaintiff suffered as a result of, inter alia, national origin, race, sexual orientation and/or

perceived sexual orientation discrimination, and retaliation, upon information and belief as

follows:

                                 JURISDICTION & VENUE
1.    Jurisdiction of this action is conferred upon this Court as this case involves a Federal

      Question under 42 U.S.C. § 1981 and 42 U.S.C. Section(s) 2000e et seq.

2.    Additionally, this Court has supplemental jurisdiction of the State and local law causes of

      action asserted in this action under 28 U.S.C. § 1367.

3.    Venue is proper in the Southern District of New York under 28 U.S.C. 1391 § (b)-(c)

      because a substantial part of the events or omissions giving rise to Plaintiff’s claims

      occurred within the Eastern District of New York.

4.    Plaintiff has exhausted all administrative prerequisites prior to commencing this action.
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                                              PARTIES

5.    At all times material, Plaintiff is of Trinidadian ancestry and national origin.

6.    At all times material, Plaintiff is a bi-sexual female.

7.    At all times material, Plaintiff is Afro-Caribbean.

8.    At all times material, Defendant JetBlue Airways Corporation (“Defendant” or “JetBlue”)

      was and is a foreign business corporation, duly existing by the virtue and laws of the State

      of Delaware.

9.    At all times material, and as relevant to this action, JetBlue operates out of Queens County,

      New York.

10.   At all times material, up and until her termination, Defendant employed Plaintiff.


                                    STATEMENT OF FACTS

11.   On or about April 19, 2017, Defendant hired Plaintiff as a Staffing Coordinator. Thereafter,

      on or about March 16, 2021, Defendant promoted Plaintiff to Field Generalist.

12.   On or about April 3, 2021, Defendant’s Supervisor RAUSHANNAH KORNEGAY

      demanded Plaintiff “investigate” an employee named ALEXIS GARY. KORNEGAY

      demanded proof of GARY’s relationship with another woman.

13.   At all times material, Defendant’s Supervisor RAUSHANNAH KORNEGAY was

      Plaintiff’s immediate supervisor.

14.   Plaintiff was upset by KORNEGAY’s inquiry into GARY’s relationship, as KORNEGAY

      never demanded similar inquiries into heterosexual couples.

15.   Plaintiff refused to participate in and opposed KORNEGAY’s blatant differential treatment

      and complained to KORNEGAY about her investigation into GARY.
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16.   At all times material thereafter, KORNEGAY was rude, aggressive, and overly demanding

      of Plaintiff. KORNEGAY began to nitpick Plaintiff’s work while leaving other similarly

      situated employees alone.

17.   At all times material, Plaintiff routinely attended private Trinidadian-Carnival themed

      parties outside of work all over the world. These Trinidadian-Carnival themed parties

      included women wearing traditional Carnival clothing and people engaging in traditional

      wine-dancing.

18.   At all times material, Plaintiff’s Trinidadian heritage, background, and ancestry, embraces

      the Trinidadian-Carnival celebration.

19.   On or about March 15, 2021, Plaintiff held a private, Trinidadian-Carnival themed party

      with friends.

20.   On or about March 19, 2021, Defendant’s Supervisor KORNEGAY text messaged

      Plaintiff, instructing Plaintiff to work from home.

21.   That same day, KORNEGAY called Plaintiff and demanded a “statement” from Plaintiff

      related to videos shared on Plaintiff’s private Instagram. KORNEGAY told Plaintiff she

      received a video of Plaintiff dancing “inappropriately” with another JetBlue employee.

22.   Plaintiff asked how her traditional Trinidadian-Carnival dancing was “inappropriate,” to

      which KORNEGAY replied “dancing with males and females” was inappropriate,

      tasteless, and Plaintiff could not behave “that way.” KORNEGAY then criticized

      Plaintiff’s traditional Carnival-dress. KORNEGAY then told Plaintiff that she herself had a

      large social media presence and Plaintiff did not see her behaving “that way.”

23.   Plaintiff was shocked by KORNEGAY’s ignorance and limited understanding of

      Trinidadian culture, dance, and dress.
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24.   In response to KORNEGAY telling Plaintiff that KORNEGAY herself did not “behave that

      way,” Plaintiff pointed out that they are from two different cultures and come from

      different backgrounds.

25.   KORNEGAY, wedded to her ignorance, ignored Plaintiff and demanded Plaintiff provide a

      statement regarding her cultural expressions.

26.   On or about March 20, 2021, Defendant’s Supervisor ROBIN KING—who is a level above

      KORNEGAY—called Plaintiff and asked Plaintiff to explain “what happened.” Plaintiff

      explained that she was celebrating her birthday the way her culture celebrates, with

      Carnival themed clothing and dance. KING told Plaintiff that her dancing was “damaging

      to the JetBlue brand.” KING continued to reprimand Plaintiff, asking how Plaintiff could

      investigate employees in her role if they saw her celebrating Trinidad- Carnival and/or

      dancing with another employee.

27.   Plaintiff then told KING that she was being singled out because of her bi-sexuality and

      Trinidadian background. KING disregarded Plaintiff’s opposition and instead demanded

      access to view Plaintiff’s private Instagram account.

28.   Naturally, Plaintiff was hesitant regarding her employer’s invasive request. KING assured

      Plaintiff she was just searching for any pictures showing a JetBlue logo or other JetBlue

      representation. Plaintiff, knowing she did not—and would never—have anything related to

      Defendant’s on her page, allowed KING access.

29.   Thereafter, KING confirmed with Plaintiff that Plaintiff’s private Instagram page did not

      have Defendant’s logo or any representation of Defendant.
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30.   On or about March 24, 2021, Defendant, unbeknownst to Plaintiff, revoked all of Plaintiff’s

      work-related systems access. Moments later, KING demanded a conference call with

      Plaintiff and KORNEGAY.

31.   On the call, KING and KORNEGAY reiterated their position that Plaintiff was behaving

      “inappropriately.” Thereafter, on the call, Defendant suspended Plaintiff pending further

      review.

32.   On or about June 4, 2021, Defendant terminated Plaintiff because of Plaintiff’s national

      origin, race, sexuality (orientation and perceived-orientation), and because Plaintiff

      objected to Defendant’s unlawful acts.

33.   Defendant terminated Plaintiff because of Plaintiff’s national origin, race, sexual

      orientation and/or perceived sexual orientation, and in retaliation for Plaintiff’s opposition

      to unlawful employment practices.

34.   On or about June 23, 2021, Defendant, as an act of intimidation and further retaliation, sent

      Supervisor KORNEGAY to Plaintiff’s home. KORNEGAY began to ask questions about

      Plaintiff to local stores around Plaintiff’s home.

35.   As a result of Defendant’s actions, Plaintiff felt extremely humiliated, degraded,

      victimized, embarrassed, and emotionally distressed.

36.   As a result of Defendant’s discriminatory and intolerable treatment, Plaintiff suffered and

      continues to suffer severe emotional distress and physical ailments.

37.   As a result of Defendant’s unlawful and discriminatory actions, Plaintiff has endured

      unwarranted financial hardships and irreparable damage to her professional reputation.

38.   As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

      continue to suffer the loss of income, the loss of a salary, bonuses, benefits and other
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      compensation, which such employment entails. Plaintiff has also suffered future pecuniary

      losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, and other non-

      pecuniary losses. Plaintiff further claims aggravation, activation, and/or exacerbation of

      any preexisting condition.

39.   As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

      knowledge of the law, Plaintiff demands Punitive Damages against Defendant.

40.   The above are just some of the examples of unlawful, discriminatory, and retaliatory

      conduct Defendant subjected Plaintiff to.


                      AS A FIRST CAUSE OF ACTION
        FOR DISCRIMINATION & RETALIATION UNDER 42 U.S. CODE § 1981

41.   Plaintiff repeats and re-alleges each and every allegation contained in the above paragraphs

      of this Complaint.

42.   42 U.S. Code § 1981 provides:

       (a)     All persons within the jurisdiction of the United States shall have the same right

       in every State and Territory to make and enforce contracts, to sue, be parties, give

       evidence, and to the full and equal benefit of all laws and proceedings for the security of

       persons and property as is enjoyed by white citizens, and shall be subject to like

       punishment, pains, penalties, taxes, licenses, and exactions of every kind, and to no other.

       (b)     For purposes of this section, the term “make and enforce contracts” includes the

       making, performance, modification, and termination of contracts, and the enjoyment of

       all benefits, privileges, terms, and conditions of the contractual relationship.

43.   As a result of Defendant’s discrimination in violation of Section 1981, Plaintiff has been

      denied the enjoyment of all benefits, privileges, terms, and conditions of Plaintiff’s

      contractual relationship which provided substantial compensation and benefits, thereby
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      entitling him to injunctive and equitable monetary relief; and having suffered such anguish,

      humiliation, distress, inconvenience and loss of enjoyment of life because of Defendant’s

      actions, thereby entitling Plaintiff to compensatory damages.

44.   As a result of Defendant’s retaliation in violation of Section 1981, Plaintiff has been denied

      the enjoyment of all benefits, privileges, terms, and conditions of Plaintiff’s contractual

      relationship which provided substantial compensation and benefits, thereby entitling him to

      injunctive and equitable monetary relief; and having suffered such anguish, humiliation,

      distress, inconvenience and loss of enjoyment of life because of Defendant’s actions,

      thereby entitling Plaintiff to compensatory damages.

45.   Defendant violated the above and Plaintiff suffered numerous damages as a result.

46.   Plaintiff makes a claim against Defendant under all of the applicable paragraphs of 42 U.S.

      Code § 1981.


                                 AS A SECOND CAUSE OF ACTION
                               DISCRIMINATION UNDER TITLE VII

47.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this Complaint.

48.   Title VII states in relevant part as follows:

       “(a) Employer practices:

         (1) It shall be an unlawful employment practice for an employer: to fail or refuse to hire
             or to discharge any individual, or otherwise to discriminate against any individual
             with respect to his compensation, terms, conditions, or privileges of employment,
             because of such individual’s race, color, religion, sex, or national origin.”

49.   This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil

      Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., as amended, for relief based upon

      the unlawful employment practices of the above named Defendant. Plaintiff complains of
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      Defendant’s violation of Title VII's prohibition against discrimination in employment

      based, in whole or in part, upon an employee's race, sexuality (orientation), and national

      origin.

50.   Defendant engaged in unlawful employment practices prohibited by 42 U.S.C. 2000e et

      seq., by discharging, and otherwise discriminating against Plaintiff because of Plaintiff’s

      race, sexuality, and national origin.


                            AS A THIRD CAUSE OF ACTION FOR
                             RETALIATION UNDER TITLE VII

51.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this Complaint.

52.   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e-3(a) provides that it

      shall be unlawful employment practice for an employer: “(1) to . . . discriminate against

      any of his employees . . . because he has opposed any practice made an unlawful

      employment practice by this subchapter, or because he has made a charge, testified,

      assisted or participated in any manner in an investigation, proceeding, or hearing under this

      subchapter.”

53.   Defendant engaged in unlawful employment practices prohibited by 42 U.S.C. 2000e seq.

      by discriminating against Plaintiff with respect to the terms, conditions or privileges of

      employment because of her opposition to the unlawful employment practices of Defendant.


                                 AS A FOURTH CAUSE OF
                                ACTION UNDER STATE LAW
                                    DISCRIMINATION

54.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this Complaint as if set forth herein more fully at length.
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55.   New York State Executive Law § 296 provides that: “1. It shall be an unlawful

      discriminatory practice: "(a) For an employer or licensing agency, because of the age, race,

      creed, color, national origin, sex, or disability, or marital status of any individual, to refuse

      to hire or employ or to bar or to discharge from employment such individual or to

      discriminate against such individual in compensation or in terms, conditions or privileges

      of employment."

56.   Defendant violated the section cited herein by discharging and otherwise discriminating

      against the Plaintiff because of Plaintiff’s race, national origin, and sexuality (orientation).

57.   Defendants violated the section cited herein as set forth.


                                AS A FIFTH CAUSE OF ACTION
                                     UNDER STATE LAW
                                        RETALIATION

58.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

      this Complaint.

59.   New York State Executive Law § 296(7) provides that it shall be an unlawful

      discriminatory practice: "For any person engaged in any activity to which this section

      applies to retaliate or discriminate against any person because [s]he has opposed any

      practices forbidden under this article.”

60.   As a direct consequence of Plaintiff opposing discrimination in the workplace to her

      supervisors, Defendant unlawfully retaliated against Plaintiff by materially altering her

      terms and conditions of employment (i.e. termination).

61.   Defendants violated the section cited herein as set forth.


                           AS A SIXTH CAUSE OF ACTION
                           FOR DISCRIMINATION UNDER
                     THE NEW YORK CITY ADMINISTRATIVE CODE
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 62.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this Complaint as if set forth herein more fully at length.

 63.   The Administrative Code of the City of New York § 8-107 [1] provides that "It shall be an

       unlawful discriminatory practice: (a) For an employer or an employee or agent thereof,

       because of the actual or perceived age, race, creed, color, national origin, gender, disability,

       marital status, sexual orientation or alienage or citizenship status of any person, to refuse to

       hire or employ or to bar or to discharge from employment such person or to discriminate

       against such person in compensation or in terms, conditions or privileges of employment."

 64.   Defendants engaged in an unlawful discriminatory practice and violated the section cited

       herein by discharging, creating and maintaining discriminatory working conditions, and

       otherwise discriminating against Plaintiff because of his race and creed, together with

       harassment and causing a hostile work environment based on same.

 65.   Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs of

       the New York City Administrative Code Title 8.

 66.   Defendants violated the above and Plaintiff suffered numerous damages as a result.


                           AS A SEVENTH CAUSE OF ACTION
                              FOR RETALIATION UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE

 67.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this complaint.

 68.   The New York City Administrative Code Tide 8, §8-107(1)(e) provides that it shall be

       unlawful discriminatory practice: "For an employer . . , to discharge . . . or otherwise

       discriminate against any person because such person has opposed any practices forbidden

       under this chapter. . . "
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 69.   Defendant engaged in an unlawful discriminatory practice in violation of New York City

       Administrative Code Tide 8, §8-107(1) (e) by discriminating against the Plaintiff because

       of Plaintiff's opposition to the unlawful employment practices of Plaintiff's employer.

 70.   As a direct consequence of Plaintiff reporting discrimination in the workplace to her

       supervisors, Defendant unlawfully retaliated against Plaintiff by materially altering his

       terms and conditions of employment (i.e. termination).

 71.   Defendants violated the section cited herein as set forth.


                           AS AN EIGHTH CAUSE OF ACTION
                          FOR SUPERVISOR LIABILITY UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE


 72.   Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this Complaint as if set forth herein more fully at length.

 73.   New York City Administrative Code Title 8-107(13)(b) provides that: “An employer shall be

       liable for an unlawful discriminatory practice based upon the conduct of an employee or agent

       which is in violation of subdivision one or two of this section only where; (i) the employee or

       agent exercised managerial or supervisory responsibility; (ii) the employer knew of the

       employee's or agent's discriminatory conduct, and acquiesced in such conduct or failed to take

       immediate and appropriate corrective action; an employer shall be deemed to have knowledge

       of an employee's or agent's discriminatory conduct where that conduct was known by another

       employee or agent who exercised managerial or supervisory responsibility; or (iii) the

       employer should have known of the employee's or agent's discriminatory conduct and failed to

       exercise reasonable diligence to prevent such discriminatory conduct.”

 74.   Defendants violated the above and Plaintiff suffered numerous damages as a result.
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      WHEREFORE, Plaintiff respectfully requests a judgment against the Defendant for all

 available damages including but not limited to emotional distress, lost wages, back pay, front pay,

 punitive damages, statutory damages, attorneys’ fees, costs, medical expenses, interest and all

 other damages as are just and proper to remedy Defendant’s unlawful employment practices.



                                          JURY DEMAND

     Plaintiff demands a trial by jury.


 Dated: New York, New York
               5 2022
        April ___,


                                                      DEREK SMITH LAW GROUP, PLLC
                                                      Attorneys for Plaintiff


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